      Case 4:19-cr-06063-SMJ     ECF No. 205   filed 09/24/21   PageID.1055 Page 1 of 2




1                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON


2
                                                                    Sep 24, 2021
3                        UNITED STATES DISTRICT COURT                    SEAN F. MCAVOY, CLERK


                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 4:19-CR-06063-SMJ-1
5
                               Plaintiff,
6                                               ORDER ACCEPTING PLEA
                  v.                            AGREEMENT
7
     MONICA PESINA,
8
                               Defendant/s.
9

10         On Thursday, September 23, 2021, the Court conducted a sentencing hearing

11   in the above-captioned matter. Assistant U.S. Attorney Stephanie A. Van Marter

12   appeared on behalf of the United States. Defendant was present, represented by

13   Kenneth D. Therrien. The Court previously found Defendant’s plea of guilty to

14   Counts 1 of the Indictment to be knowing, intelligent, and voluntary and not induced

15   by fear, coercion, or ignorance, ECF No. 178. After reviewing the presentence

16   investigation report and hearing from counsel, the Court ACCEPTS the parties’

17   Rule 11(c)(1)(C) plea agreement and sentences Defendant consistent with the

18   agreement.

19         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

20   provide copies to all counsel.




     ORDER - 1
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1        DATED this 24th day of September 2021.

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3                    SALVADOR MENDOZA, JR.
                     United States District Judge
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     ORDER - 2
